              IN THE UNITED STATES DISTRICT COURT                         
              FOR THE MIDDLE DISTRICT OF GEORGIA                          
                        MACON DIVISION                                    
HUDSON SPECIALTY INSURANCE                                                 
COMPANY,                                                                   
             Plaintiff,                                                   
                                       CIVIL ACTION NO.                   
v.                                                                         
                                        5:18-cv-00104-TES                 
SNAPPY SLAPPY LLC d/b/a JUS ONE                                            
MORE,                                                                      
             Defendant.                                                   

    ORDER GRANTING PLAINTIFF’S MOTION FOR RECONSIDERATION                 


                         INTRODUCTION                                     
     In  this  insurance  coverage  dispute,1  Plaintiff  Hudson  Specialty  Insurance 
Company (“Hudson”) previously filed a Motion for Judgment on the Pleadings [Doc. 10]. 
In that motion, Hudson asked the Court to declare that, under the commercial general 
liability policy at issue in this case, it is not obligated to defend or indemnify its insured, 
Defendant Snappy Slappy LLC d/b/a Jus One More (“Snappy”), against claims arising 

1 Claimant Carol Slocumb filed a wrongful death action in the State Court of Houston County, 
Georgia, against Snappy, alleging that her son, Jabrial Adams, was shot and killed by a fellow business 
invitee to its business, Jus One More. [Doc. 1 at ¶¶ 8-10]. Thereafter, an agent of Snappy provided 
Hudson with a copy of Ms. Slocumb’s complaint, and Hudson responded that Snappy’s insurance 
policy barred coverage for Ms. Slocumb’s lawsuit pursuant to, among other things, its Firearms 
Exclusion. [Id. at ¶¶ 26–27]. Snappy disputed this policy interpretation, and Hudson filed the instant 
action seeking a declaratory judgment pursuant to 28 U.S.C. § 2201.       
out of a fatal shooting on Snappy’s premises.2 [Doc. 10-1 at p. 1]. However, the Court 
denied Hudson’s motion, finding that the relevant Firearms Exclusion in the insurance 

policy was ambiguous because it “does not limit or specify to whom it applies.” [Doc. 15 
at p. 6 (emphasis in original)].  In other words, the Court faulted the policy for not 
specifying whether the “use” of the firearm was limited to persons directly involved with 

Snappy or whether it applied to any person.                               
    Sometimes, however, a Court just gets it wrong. This is one of those cases. When 
that happens, a Court is at its best when it acknowledges its mistake, owns it without 

offering excuses, and then fixes it. And, while this process may be deservedly humbling, 
it is simply the right thing to do. Therefore, as explained more clearly below, the Court 
GRANTS Hudson’s Motion for Reconsideration [Doc. 21] in order to correct a clear error 
of law.                                                                   

                          DISCUSSION                                     
    A.   Standard of Review                                              
    Motions for reconsideration are not to be filed as a matter of routine practice. LR 

7.6, MDGa. However, such motions are appropriate if the party seeking reconsideration 
demonstrates that “(1) there has been an intervening change in the law, (2) new evidence 
has been discovered that was not previously available to the parties at the time the 


2 The Court’s previous order [Doc. 15] accurately lays out the specific facts of this case, none of which are 
disputed.                                                                 
original order was entered, or (3) reconsideration is necessary to correct a clear error of 
law or prevent manifest injustice.” Bryant v. Walker, No. 5:10-CV-84, 2010 WL 2687590, at 

*1 (M.D. Ga. July 1, 2010) (quoting Wallace v. Ga. Dep’t of Transp., No 7:04-cv-78, 2006 WL 
1582409, at *2 (M.D. Ga. June 6, 2006)). Even though a motion for reconsideration may 
not be used to relitigate old matters or reargue settled issues, the Court realizes the 

virtually impossible task of confronting an erroneous application of law without making 
some of the same arguments. See id.; Smith v. Ocwen Fin., 488 F. App’x 426, 428 (11th Cir. 
2012).                                                                    

    B.   The Plain Language of the Firearms Exclusion                    
    In this diversity action, Georgia’s substantive law governs interpretation of the 
policy. Travelers Prop. Cas. Co. v. Kan. City Landsmen, LLC, 592 F. App’x 876, 881 (11th Cir. 
2015) (noting that Georgia’s choice of law rules dictate that insurance contracts are 

interpreted under the laws of the place where the contract is made, which is at the place 
it is delivered). Indeed, under Georgia law, insurance policies are written contracts and 
therefore subject to the standard rules of contract construction. Dixon v. Midland Ins. Co., 

309 S.E.2d 147, 150 (Ga. Ct. App. 1983). This analytical endeavor involves a question of 
law to be resolved by the Court, unless the relevant language presents an ambiguity 
incapable of resolution by the rules of construction. Ga. Code Ann. § 13-2-1. 
    The cardinal rule of construction is to ascertain the intent of the parties. 
    Where the contract terms are clear and unambiguous, the court will look to 
    that alone to find the true intent of the parties. To determine the intent of 
    the parties, all the contract terms must be considered together in arriving at 
    the construction of any part, and a construction upholding the contract in 
    whole and every part is preferred. When the language employed by the 
    parties in their contract is plain, unambiguous, and capable of only one 
    reasonable interpretation, the language used must be afforded its literal 
    meaning and plain ordinary words given their usual significance . . . . An 
    ambiguity is defined as duplicity, indistinctness, an uncertainty of meaning 
    or expression used in a written instrument, and also signifies of doubtful or 
    uncertain  nature;  wanting  clearness  or  definiteness;  difficult  to 
    comprehend  or  distinguish;  of  doubtful  purport;  open  to  various 
    interpretations. Where ambiguities exist, the court may look outside the 
    written  terms  of  the  contract  and  consider  all  the  surrounding 
    circumstances to determine the parties’ intent. Parol evidence may not be 
    considered unless the written instrument is ambiguous.               
Greenberg Farrow Architecture, Inc. v. JMLS 1422, LLC, 791 S.E.2d 635, 639 (Ga. Ct. App. 
2016).                                                                    
    Determining whether the Firearms Exclusion bars coverage requires the Court to 
interpret that contractual provision. Naturally, any court tasked with interpreting a 
contractual provision must, “[a]s always,” begin with the disputed language itself. Powe 
v. Chartis Specialty Ins. Co., 1:16-CV-1336-SCJ, 2017 WL 3525441, at *2–3 (N.D. Ga. June 1, 
2017). The endorsement changing Snappy’s insurance policy provides in relevant part: 
“This  insurance  policy  does  not  apply  to  ‘bodily  injury[  ]’  .  .  .  arising  out  of  the 
manufacture, importation, sales, distribution, gunsmithing, ownership, maintenance, or 
use of firearms or weapons.” [Doc. 1-2 at p. 39]. “This exclusion,” says Hudson, “is short, 
simple, and clear.” [Doc. 10-1 at p. 7]. Hudson argues that by its plain language, the 
Firearms Exclusion bars coverage for the “bodily injury” claim asserted in the Houston 
County wrongful death action because it arose out of the use of a firearm. [Id. at p. 4]. 
Succinctly put, Ms. Slocumb’s son was shot, with a gun, used on premises insured by 
Hudson so that the Firearms Exclusion protects it from both defending and indemnifying 

Snappy. Snappy, however, contends that “the Firearms Exclusion does not distinctly state 
who the user of the firearm” must be, and the exclusion is therefore, ambiguous. [Doc. 11 
at p. 5]. Stated differently, Snappy argues that the absence of language limiting the broad 

application of the exclusion to a specific actor rendered it ambiguous.   
    “There is a low threshold for establishing ambiguity in an insurance policy.” St. 
Paul, 774 F.3d at 709. In Georgia, “[a]mbiguity in an insurance contract is duplicity, 

indistinctiveness, uncertainty of meaning of expression, and words or phrases which 
cause uncertainty of meaning and may be fairly construed in more than one way.” 
However, “no ambiguity exists where, examining the contract as a whole and affording 
the words used therein their plain and ordinary meaning, the contract is capable of only 

one reasonable interpretation.” Grange Mut. Cas. Co. v. Woodard, 861 F.3d 1224, 1231 (11th 
Cir. 2017) (quoting Capital Color Printing, Inc. v. Ahem, 661 S.E.2d 578, 583 (Ga. Ct. App. 
2008)). Under this purview, the focus is on the language actually used by the parties. 

    In  its  previous  order,  the  Court,  as  Hudson  correctly  states  in  its  Motion, 
effectively changed the language of the Firearms Exclusion and inserted modifying 
language not otherwise present in the exclusion agreed upon by the parties. [Doc. 21-1 at 
pp. 3–6]. This the Court cannot do. See Fernandes v. Manugistics Atlanta, 582 S.E.2d 499, 

503 (Ga. Ct. App. 2003) (discussing that a court “is [not] at liberty to rewrite or revise a 
contract under the guise of [interpreting] it); see also United States Liability Ins. Co. v. 
Griffith, No. 1:16-CV-01735-ELR, 2017 WL 3521644, at *3 (N.D. Ga. May 10, 2017) (holding 

that courts are “without the authority to interpret, rewrite, or change the terms of an 
unambiguous insurance policy”). The absence of limiting language as to whose use is 
excluded does not render the exclusion ambiguous because breadth does not equate to 

ambiguity. Powe, 2017 WL 3525441, at *4–5; see also [Doc. 21-1 at p. 7].  
    To that end, by not limiting or modifying the noun “use” in the exclusion, its plain 
language bars coverage for “bodily injury” arising out of the use of firearms, generally. 

[Id.]; see also [Doc. 1-2 at p. 39]. The lack of any limiting language before “use” indicates 
that there is no limitation. In summation, Hudson’s decision not to limit the word “use” 
to certain persons means that it applies to anyone’s use of a firearm. Accordingly, the 
language included  in the Firearms Exclusion is not ambiguous. Because the bodily 

injuries on Jus One More’s premises clearly arise “out of the . . . use of firearms or 
weapons,” the Firearms Exclusion applies to exclude coverage. The Court’s previous 
ruling would “strain to extend coverage where none was contracted or intended [by the 

parties]” and was a clear error of law that must be corrected. Griffith, 2017 WL 3521644 at 
*3 (quoting Flowers, 644 S.E.2d at 455).                                  
                         CONCLUSION                                      
    In  light  of  the  foregoing,  the  Court  GRANTS  Hudson’s  Motion  for 

Reconsideration [Doc. 21] and VACATES its previous Order Denying Plaintiff’s Motion 
for Judgment on the Pleadings [Doc. 15].  The parties’ Cross-Motions for Summary 
Judgment [Docs. 27, 29] are DENIED as moot.                               

    SO ORDERED, this 1st day of May, 2019.                               
                             S/ Tilman E. Self, III                      
                             TILMAN E. SELF, III, JUDGE                  
                             UNITED STATES DISTRICT COURT                